                                                                                                                                                 3/25/24 1:28PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN - EDMI

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Affordable Pool & Spa Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3234 Associates Drive
                                  Burton, MI 48529
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Genesee                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       ed5395@aol.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                    24-30559-jda           Doc 1        Filed 03/25/24          Entered 03/25/24 13:31:19                   Page 1 of 34
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                                                                                                                                                     3/25/24 1:28PM

Debtor    Affordable Pool & Spa Inc.                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




                    24-30559-jda            Doc 1           Filed 03/25/24          Entered 03/25/24 13:31:19                        Page 2 of 34
Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                                                                                                                                                3/25/24 1:28PM

Debtor    Affordable Pool & Spa Inc.                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                    24-30559-jda                 Doc 1          Filed 03/25/24           Entered 03/25/24 13:31:19                     Page 3 of 34
Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
                                                                                                                                    3/25/24 1:28PM

Debtor   Affordable Pool & Spa Inc.                                                    Case number (if known)
         Name

                               $50,001 - $100,000                          $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                         $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                       $100,000,001 - $500 million          More than $50 billion




                    24-30559-jda   Doc 1        Filed 03/25/24          Entered 03/25/24 13:31:19               Page 4 of 34
Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                                                                                                                                     3/25/24 1:28PM

Debtor    Affordable Pool & Spa Inc.                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 25, 2024
                                                  MM / DD / YYYY


                             X /s/ Edward Mcpheeters                                                      Edward Mcpheeters
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   owner




18. Signature of attorney    X /s/ George E. Jacobs                                                        Date March 25, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 George E. Jacobs P36888
                                 Printed name

                                 Bankruptcy Law Offices
                                 Firm name

                                 2425 S. Linden Rd.
                                 Ste. C
                                 Flint, MI 48532
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (810) 720-4333                Email address      george@bklawoffice.com

                                 P36888 MI
                                 Bar number and State




                    24-30559-jda         Doc 1        Filed 03/25/24             Entered 03/25/24 13:31:19                    Page 5 of 34
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                                                                                                                                                      3/25/24 1:28PM




                                                               United States Bankruptcy Court
                                                                Eastern District of Michigan - EDMI
 In re   Affordable Pool & Spa Inc.                                                                                                      Case No.
                                                                                               Debtor(s)                                 Chapter       11


                                                           STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                              PURSUANT TO F.R.BANKR.P. 2016(b)
         The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:
1.       The undersigned is the attorney for the Debtor(s) in this case.
2.       The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
         [ ]     FLAT FEE
          A.      For legal services rendered in contemplation of and in connection with this case,
                  exclusive of the filing fee paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          B.           Prior to filing this statement, received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. .
          C.           The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
         [X]          RETAINER
          A.          Amount of retainer received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               8,262.00

          B.           The undersigned shall bill against the retainer at an hourly rate of $ 325.00 . [Or attach firm hourly rate schedule.]
                       Debtor(s) have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

3.       $     1,738.00        of the filing fee has been paid.
4.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
         that do not apply.]
         A.           Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                      bankruptcy;
         B.           Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         C.           Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         D.           Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
         E.           Reaffirmations;
         F.           Redemptions;
         G.           Other:
                      Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                      reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                      522(f)(2)(A) for avoidance of liens on household goods.
5.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                  Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay
                  actions or any other adversary proceeding.
6.       The source of payments to the undersigned was from:
          A.        XX              Debtor(s)' earnings, wages, compensation for services performed
          B.                        Other (describe, including the identity of payor)




               24-30559-jda                  Doc 1            Filed 03/25/24                   Entered 03/25/24 13:31:19                               Page 6 of 34
                                                                                                                                        3/25/24 1:28PM




7.        The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
          corporation, any compensation paid or to be paid except as follows:

Dated:      March 25, 2024                                                               /s/ George E. Jacobs
                                                                                         Attorney for the Debtor(s)
                                                                                         George E. Jacobs
                                                                                         Bankruptcy Law Offices
                                                                                         2425 S. Linden Rd.
                                                                                         Ste. C
                                                                                         Flint, MI 48532
                                                                                         (810) 720-4333
                                                                                         george@bklawoffice.com
                                                                                         P36888 MI

Agreed:     /s/ Edward Mcpheeters
            Edward Mcpheeters
            Debtor                                                                       Debtor




             24-30559-jda           Doc 1       Filed 03/25/24           Entered 03/25/24 13:31:19                  Page 7 of 34
                                                                                                                                               3/25/24 1:28PM




Fill in this information to identify the case:

Debtor name         Affordable Pool & Spa Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN - EDMI

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 25, 2024                  X /s/ Edward Mcpheeters
                                                           Signature of individual signing on behalf of debtor

                                                            Edward Mcpheeters
                                                            Printed name

                                                            owner
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




              24-30559-jda            Doc 1         Filed 03/25/24            Entered 03/25/24 13:31:19                 Page 8 of 34
                                                                                                                                                                                                        3/25/24 1:28PM


 Fill in this information to identify the case:

 Debtor name            Affordable Pool & Spa Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF MICHIGAN - EDMI

 Case number (if known)
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $           200,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $           139,591.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $           339,591.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $           423,138.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$           139,089.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $             562,227.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                   24-30559-jda                        Doc 1               Filed 03/25/24                        Entered 03/25/24 13:31:19                                         Page 9 of 34
                                                                                                                                                     3/25/24 1:28PM


Fill in this information to identify the case:

Debtor name         Affordable Pool & Spa Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN - EDMI

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Huntington Bank                                   checking                                                                       $1,000.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,000.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1


             24-30559-jda              Doc 1      Filed 03/25/24            Entered 03/25/24 13:31:19                      Page 10 of 34
                                                                                                                                    3/25/24 1:28PM



Debtor       Affordable Pool & Spa Inc.                                              Case number (If known)
             Name




Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used    Current value of
                                            physical inventory       debtor's interest         for current value        debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          misc. inventory
          excluding agriculture                                                    $0.00       Liquidation                       $105,000.00




23.       Total of Part 5.                                                                                                   $105,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used    Current value of
                                                                     debtor's interest         for current value        debtor's interest
                                                                     (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          misc. office equipment                                                $2,500.00      Liquidation                         $5,000.00

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                     page 2

             24-30559-jda            Doc 1        Filed 03/25/24            Entered 03/25/24 13:31:19              Page 11 of 34
                                                                                                                                        3/25/24 1:28PM



Debtor       Affordable Pool & Spa Inc.                                                     Case number (If known)
             Name




42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $5,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2015 GMC Box Truck                                                $5,000.00      Comparable sale                    $5,000.00


          47.2.    2017 Chevrolet Van                                                $5,000.00      Comparable sale                    $5,000.00


          47.3.    2018 Dodge Promaster                                            $14,091.00       Comparable sale                   $14,091.00


          47.4.    Forklift                                                          $4,000.00      Liquidation                        $4,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          tools and power tools                                                        $500.00      Liquidation                          $500.00



51.       Total of Part 8.                                                                                                        $28,591.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3

             24-30559-jda             Doc 1        Filed 03/25/24            Entered 03/25/24 13:31:19                Page 12 of 34
                                                                                                                                           3/25/24 1:28PM



Debtor        Affordable Pool & Spa Inc.                                                   Case number (If known)
              Name


              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Commercial Building
                    located at 3234
                    Associates Drive,
                    Burton, MI 48529             fee simple                              $0.00        Comparable sale                   $200,000.00




56.        Total of Part 9.                                                                                                           $200,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 4

              24-30559-jda            Doc 1       Filed 03/25/24            Entered 03/25/24 13:31:19                   Page 13 of 34
                                                                                                                                                                       3/25/24 1:28PM



Debtor          Affordable Pool & Spa Inc.                                                                          Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,000.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $105,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $5,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $28,591.00

88. Real property. Copy line 56, Part 9.........................................................................................>                        $200,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $139,591.00           + 91b.              $200,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $339,591.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 5

                24-30559-jda                   Doc 1            Filed 03/25/24                      Entered 03/25/24 13:31:19                     Page 14 of 34
                                                                                                                                                          3/25/24 1:28PM


Fill in this information to identify the case:

Debtor name         Affordable Pool & Spa Inc.

United States Bankruptcy Court for the:           EASTERN DISTRICT OF MICHIGAN - EDMI

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ally Financial                               Describe debtor's property that is subject to a lien                   $14,091.00                $14,091.00
      Creditor's Name                              2018 Dodge Promaster
      P.O. Box 1948
      Louisville, KY 40290-1948
      Creditor's mailing address                   Describe the lien
                                                   Auto PMSI
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   City of Burton                               Describe debtor's property that is subject to a lien                     $3,000.00             $200,000.00
      Creditor's Name                              Commercial Building located at 3234
                                                   Associates Drive, Burton, MI 48529
      4303 S. Center Rd.
      Burton, MI 48529
      Creditor's mailing address                   Describe the lien
                                                   property tax lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4


               24-30559-jda                 Doc 1        Filed 03/25/24               Entered 03/25/24 13:31:19                  Page 15 of 34
                                                                                                                                                3/25/24 1:28PM


Debtor      Affordable Pool & Spa Inc.                                                            Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      1. Huntington Bank
      2. City of Burton
      3. Genesee County
      Treasurer

2.3   Genesee County Treasurer                    Describe debtor's property that is subject to a lien                       $4,000.00   $200,000.00
      Creditor's Name                             Commercial Building located at 3234
      Attn. Catherine Town                        Associates Drive, Burton, MI 48529
      1101 Beach St.
      Flint, MI 48502
      Creditor's mailing address                  Describe the lien
                                                  property tax lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.2

2.4   Huntington Bank                             Describe debtor's property that is subject to a lien                     $153,279.00   $200,000.00
      Creditor's Name                             Commercial Building located at 3234
      P.O. Box 182232                             Associates Drive, Burton, MI 48529
      GW1W34
      Columbus, OH 43218
      Creditor's mailing address                  Describe the lien
                                                  First Mortgage/Subordinate to Genesee
                                                  County Treasurer/City of Burton
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.2

2.5   OnDeck                                      Describe debtor's property that is subject to a lien                      $65,768.00          $0.00
      Creditor's Name                             collection
      4700 W. Daybreak Pkwy.
      Ste. 200
      South Jordan, UT 84009

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 4


               24-30559-jda                 Doc 1       Filed 03/25/24               Entered 03/25/24 13:31:19                  Page 16 of 34
                                                                                                                                                3/25/24 1:28PM


Debtor      Affordable Pool & Spa Inc.                                                            Case number (if known)
            Name

      Creditor's mailing address                  Describe the lien
                                                  All asset filing UCC-1/Subordinate to Small
                                                  Business Administration
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Small Business
2.6                                                                                                                        $179,000.00   $139,591.00
      Administration                              Describe debtor's property that is subject to a lien
      Creditor's Name                             all asset filing
      2 North St.
      Ste. 320
      Birmingham, AL 35203
      Creditor's mailing address                  Describe the lien
                                                  all asset filing
                                                  Is the creditor an insider or related party?
      Suzanne.Ulciny@sba.gov                         No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Toyota Commercial
2.7                                                                                                                          $4,000.00     $4,000.00
      Finance                                     Describe debtor's property that is subject to a lien
      Creditor's Name                             Forklift
      P.O. Box 660926
      Dallas, TX 75266-0926
      Creditor's mailing address                  Describe the lien
                                                  forklift lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 3 of 4


               24-30559-jda                 Doc 1       Filed 03/25/24               Entered 03/25/24 13:31:19                  Page 17 of 34
                                                                                                                                                          3/25/24 1:28PM


Debtor      Affordable Pool & Spa Inc.                                                         Case number (if known)
            Name

          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $423,138.00

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4


               24-30559-jda                 Doc 1     Filed 03/25/24             Entered 03/25/24 13:31:19                       Page 18 of 34
                                                                                                                                                                 3/25/24 1:28PM


Fill in this information to identify the case:

Debtor name        Affordable Pool & Spa Inc.

United States Bankruptcy Court for the:         EASTERN DISTRICT OF MICHIGAN - EDMI

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,337.00
          Chase Bank                                                           Contingent
          P.O. Box 44959                                                       Unliquidated
          Indianapolis, IN 46244-4959                                          Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: collection
          Last 4 digits of account number 5201
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $41,000.00
          Chase Bank                                                           Contingent
          P.O. Box 15298                                                       Unliquidated
          Wilmington, DE 19580                                                 Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: credit card
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $851.70
          Cintas Corp                                                          Contingent
          PO BOX 630910                                                        Unliquidated
          Cincinnati, OH 45263-0910                                            Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: collection
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $45,000.00
          Heritage Pool Supply                                                 Contingent
          7440 State Hwy 121                                                   Unliquidated
          McKinney, TX 75070                                                   Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: collection
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 2
                                                                                                          35883
               24-30559-jda               Doc 1         Filed 03/25/24               Entered 03/25/24 13:31:19                             Page 19 of 34
                                                                                                                                                              3/25/24 1:28PM


Debtor       Affordable Pool & Spa Inc.                                                             Case number (if known)
             Name

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $12,053.64
          Huntington Bank                                                     Contingent
          P.O. Box 182387                                                     Unliquidated
          Columbus, OH 43218-2387                                             Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: credit card
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $30,000.00
          OnDeck                                                              Contingent
          4700 W. Daybreak Pkwy.                                              Unliquidated
          Ste. 200                                                            Disputed
          South Jordan, UT 84009
                                                                           Basis for the claim: collection
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $7,699.75
          Townsquare Media Flint                                              Contingent
          3338 E. Bristol Road                                                Unliquidated
          Burton, MI 48529                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: collection
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,146.91
          WEX Bank                                                            Contingent
          P.O. Box 4337                                                       Unliquidated
          Carol Stream, IL 60197-4337                                         Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: collection
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       139,089.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          139,089.00




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 2



              24-30559-jda               Doc 1         Filed 03/25/24               Entered 03/25/24 13:31:19                             Page 20 of 34
                                                                                                                                                  3/25/24 1:28PM


Fill in this information to identify the case:

Debtor name       Affordable Pool & Spa Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN - EDMI

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1


              24-30559-jda            Doc 1        Filed 03/25/24            Entered 03/25/24 13:31:19                     Page 21 of 34
                                                                                                                                              3/25/24 1:28PM


Fill in this information to identify the case:

Debtor name      Affordable Pool & Spa Inc.

United States Bankruptcy Court for the:   EASTERN DISTRICT OF MICHIGAN - EDMI

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Edward                      3234 Associates Drive                                     Small Business                     D   2.6
          McPheeters                  Burton, MI 48529                                          Administration                     E/F
                                                                                                                                   G




   2.2    Edward                      3234 Associates Dr.                                       OnDeck                             D   2.5
          McPheeters                  Burton, MI 48529                                                                             E/F
                                                                                                                                   G




   2.3    Julie McPheeters            3464 E. Scottwood Ave.                                    Small Business                     D   2.6
                                      Burton, MI 48529                                          Administration                     E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1

            24-30559-jda            Doc 1        Filed 03/25/24           Entered 03/25/24 13:31:19                   Page 22 of 34
                                                                                                                                                 3/25/24 1:28PM




Fill in this information to identify the case:

Debtor name         Affordable Pool & Spa Inc.

United States Bankruptcy Court for the:    EASTERN DISTRICT OF MICHIGAN - EDMI

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $30,000.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $1,038,083.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                               $763,831.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1


              24-30559-jda           Doc 1        Filed 03/25/24             Entered 03/25/24 13:31:19                     Page 23 of 34
                                                                                                                                                    3/25/24 1:28PM

Debtor      Affordable Pool & Spa Inc.                                                          Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2


              24-30559-jda            Doc 1        Filed 03/25/24             Entered 03/25/24 13:31:19                       Page 24 of 34
                                                                                                                                                   3/25/24 1:28PM

Debtor        Affordable Pool & Spa Inc.                                                           Case number (if known)



      Description of the property lost and              Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                            lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received               If not money, describe any property transferred              Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Bankruptcy Law Office
                2425 S. Linden Rd.
                Ste. C
                Flint, MI 48532                            n/a                                                          2/24                      $8,262.00

                Email or website address
                geolaw85@aol.com

                Who made the payment, if not debtor?
                Sandra McPheeters



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                              Describe any property transferred                    Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                   Description of property transferred or                     Date transfer            Total amount or
               Address                                  payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3


               24-30559-jda            Doc 1        Filed 03/25/24              Entered 03/25/24 13:31:19                       Page 25 of 34
                                                                                                                                                      3/25/24 1:28PM

Debtor      Affordable Pool & Spa Inc.                                                           Case number (if known)



    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 4


              24-30559-jda             Doc 1        Filed 03/25/24              Entered 03/25/24 13:31:19                     Page 26 of 34
                                                                                                                                                        3/25/24 1:28PM

Debtor      Affordable Pool & Spa Inc.                                                          Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    Affodable Pool & Spa's Inc.              pool & spa sales and service                      EIN:         XX-XXXXXXX
            3234 Associates Dr.
            Burton, MI 48529                                                                           From-To      2012-present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5


              24-30559-jda            Doc 1        Filed 03/25/24             Entered 03/25/24 13:31:19                       Page 27 of 34
                                                                                                                                                   3/25/24 1:28PM

Debtor      Affordable Pool & Spa Inc.                                                          Case number (if known)



             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Joshua Missitti                                                                                                 2012-present
                    2311 Wenora Court
                    Wixom, MI 48393

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Edward McPheeters                       3234 Associates Drive                               owner                                     100%
                                              Burton, MI 48529



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6


               24-30559-jda           Doc 1        Filed 03/25/24             Entered 03/25/24 13:31:19                     Page 28 of 34
                                                                                                                                              3/25/24 1:28PM

Debtor      Affordable Pool & Spa Inc.                                                          Case number (if known)



             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 Edward Mcpheeters
      .    3234 Associates Drive
             Burton, MI 48529                          $7500                                                     over last year    draw

             Relationship to debtor
             owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         March 25, 2024

/s/ Edward Mcpheeters                                           Edward Mcpheeters
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7


              24-30559-jda            Doc 1        Filed 03/25/24             Entered 03/25/24 13:31:19                   Page 29 of 34
                                                                                                                                                    3/25/24 1:28PM



                                                      United States Bankruptcy Court
                                                       Eastern District of Michigan - EDMI
 In re    Affordable Pool & Spa Inc.                                                                              Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the owner of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date March 25, 2024                                                      Signature /s/ Edward Mcpheeters
                                                                                        Edward Mcpheeters

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



             24-30559-jda             Doc 1         Filed 03/25/24              Entered 03/25/24 13:31:19                       Page 30 of 34
                                                                                                                                  3/25/24 1:28PM




                                               United States Bankruptcy Court
                                                Eastern District of Michigan - EDMI
 In re   Affordable Pool & Spa Inc.                                                               Case No.
                                                                     Debtor(s)                    Chapter     11




                                   VERIFICATION OF CREDITOR MATRIX


I, the owner of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     March 25, 2024                                 /s/ Edward Mcpheeters
                                                         Edward Mcpheeters/owner
                                                         Signer/Title




            24-30559-jda          Doc 1      Filed 03/25/24          Entered 03/25/24 13:31:19               Page 31 of 34
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                           George E. Jacobs
                           Bankruptcy Law Offices
                           2425 S. Linden Rd.
                           Ste. C
                           Flint, MI 48532


                           IRS-Special Procedures
                           P.O.BOX 330500
                           Stop 15
                           Detroit, MI 48232


                           Attorney General
                           Law Building
                           525 Ottawa
                           Lansing, MI 48913


                           U.S. Attorney
                           Attn: Civil Division
                           210 Federal Building
                           600 Church Street
                           Flint, MI 48502


                           U.S. Trustee
                           211 West Fort Street
                           Ste. 700
                           Detroit, MI 48226


                           Ally Financial
                           P.O. Box 1948
                           Louisville, KY 40290-1948


                           Chase Bank
                           P.O. Box 44959
                           Indianapolis, IN 46244-4959


                           Chase Bank
                           P.O. Box 15298
                           Wilmington, DE 19580


                           Cintas Corp
                           PO BOX 630910
                           Cincinnati, OH 45263-0910


                           City of Burton
                           4303 S. Center Rd.
                           Burton, MI 48529

    24-30559-jda   Doc 1    Filed 03/25/24   Entered 03/25/24 13:31:19   Page 32 of 34
                       Edward McPheeters
                       3234 Associates Drive
                       Burton, MI 48529


                       Edward McPheeters
                       3234 Associates Dr.
                       Burton, MI 48529


                       Genesee County Treasurer
                       Attn. Catherine Town
                       1101 Beach St.
                       Flint, MI 48502


                       Heritage Pool Supply
                       7440 State Hwy 121
                       McKinney, TX 75070


                       Huntington Bank
                       P.O. Box 182232
                       GW1W34
                       Columbus, OH 43218


                       Huntington Bank
                       P.O. Box 182387
                       Columbus, OH 43218-2387


                       Julie McPheeters
                       3464 E. Scottwood Ave.
                       Burton, MI 48529


                       OnDeck
                       4700 W. Daybreak Pkwy.
                       Ste. 200
                       South Jordan, UT 84009


                       OnDeck
                       4700 W. Daybreak Pkwy.
                       Ste. 200
                       South Jordan, UT 84009


                       Small Business Administration
                       2 North St.
                       Ste. 320
                       Birmingham, AL 35203



24-30559-jda   Doc 1    Filed 03/25/24   Entered 03/25/24 13:31:19   Page 33 of 34
                       Townsquare Media Flint
                       3338 E. Bristol Road
                       Burton, MI 48529


                       Toyota Commercial Finance
                       P.O. Box 660926
                       Dallas, TX 75266-0926


                       WEX Bank
                       P.O. Box 4337
                       Carol Stream, IL 60197-4337




24-30559-jda   Doc 1    Filed 03/25/24   Entered 03/25/24 13:31:19   Page 34 of 34
